                                                                                                                    Civil- (Dec-2008)
                                                           HONORABLE: Stefan R. Underhill
                                   DEPUTY CLERKR. Jaiman / J. Rosenberg RPTR/ECRO/TAPE Sharon Masse
      TOTAL TIME: 1                 hours 37 minutes
                                      DATE: 11/12/2020 START TIME: 11:32 AM          END TIME: 1:09 PM
                                                       LUNCH RECESS                FROM:                      TO:
                                               RECESS (if more than ½ hr)          FROM:                      TO:

      CIVIL NO. 3:17-cv-558


                    In re Teva Sec. Litig.                                           See attached
                                                                                             Plaintiff’s Counsel
                                      vs
                                                                                     See attached
                                                                                             Defendant’s Counsel

                                              COURTROOM MINUTES- CIVIL

                          ✔ Motion hearing                          Show Cause Hearing
                              Evidentiary Hearing                   Judgment Debtor Exam
                              Miscellaneous Hearing

         Doc 449
       ✔ .....#  Motion to Dismiss on Repose Grounds                                    granted       denied ✔ advisement
       ✔ Doc
         .....# 450 Motion to Dismiss on Repose Grounds                                 granted       denied ✔ advisement
           .....#         Motion                                                        granted       denied        advisement
           .....#         Motion                                                        granted       denied        advisement
           .....#         Motion                                                        granted       denied        advisement
          .....#          Motion                                                        granted       denied        advisement
          .....#          Motion                                                        granted       denied        advisement
          .....           Oral Motion                                                    granted      denied        advisement
          .....           Oral Motion                                                    granted      denied        advisement
          .....           Oral Motion                                                    granted      denied        advisement
          .....           Oral Motion                                                    granted      denied        advisement
          .....              Briefs(s) due                 Proposed Findings due                   Response due
          .............                                                                                    filed    docketed
          .............                                                                                    filed    docketed
          .............                                                                                    filed    docketed
          .............                                                                                    filed     docketed
          .............                                                                                    filed    docketed
          .............                                                                                    filed    docketed
          ............                         Hearing continued until                                at

Notes: The hearing was conducted entirely by Zoom. See attached addendum for counsel in attendance.
